           Case 3:09-cr-01684-DMS                      Document 319                 Filed 03/19/12              PageID.1397               Page 1 of 4

                                                                                                                                         FILED
     'A0245B       (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 1                                                                                                               MAR 1 9 2012
                                                                                                                             -~ '~ff..I;~,,,,c,
                                                                                                                             ~...,U..j
                                                                                                                                      L~ s:~I::r    COIJln
                                                                                                                                                OF C:'~IFORNI':'
                                              UNITED STATES DISTRICT COURT                                                   6Y                                DEPUTY

                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November 1, 1987)

                 GERARDO MARTINEZ-VELASCO (2)                                      Case Number: 09CR1684-DMS
                                                                                    Roseline D Feral CJA
                                                                                   Defendant's Attorney
     REGISTRATION NO. 13966298

    o
     THE DEFENDANT:
     181 pleaded guilty to count(s) _1_an_d_2_0_f_th_e_In_d_ic_tm_en_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                         Nature of Offense                                                                             Number(s)
18 USC 1201(a)(1) and (c)             CONSPIRACY TO KIDNAP                                                                                   1
21 USC 846, 841(a)(1)                 CONSPIRACY TO DISTRIBUTE MARIJUANA AND COCAINE                                                           2




        The defendant is sentenced as provided in pages 2 through _ _4___ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Refonn Act of 1984.
 o
 o Count(s)_re_rn_ai_n_in.::;g_ _ _ _ _ _ _ _ _ _---------------------------
      The defendant has been found not guilty on oooot(s)
                                                 _ _ _ _ _ _ _ is 0 arel8l dismissed on the motion of the United States.
  I8J Assessment: $200 ($100 as to each of Counts I and 2).

  I8J Fine waived                                   0 Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States attorney of any material change in the defendant's economic circumstances.
                                                                               MARCH 19,2012




                                                                              HON. DANA M. SABRAW
                                                                              UNITED STATES DISTRICT JUDGE
                                                                                                                                              09CR1684-DMS
  Case 3:09-cr-01684-DMS                            Document 319         Filed 03/19/12       PageID.1398             Page 2 of 4


AO 2458     (Rev. 9100) ludgment in Criminal Case
            Sheet 2 ..~ Imprisonment

                                                                                               ludgmenl- Page _ _2_ of         4
DEFENDANT: GERARDO MARTINEZ-VELASCO (2)
CASE NUMBER: 09CR1684-DMS
                                                             IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          NINETY-SEVEN (97) MONTHS as to each of Counts 1 and 2 concurrently.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
          Defendant be designated to a facility in the Western Region of the United States.




    o     The defendant is remanded to the custody of the United States Marshal.

    o     The defendant shall surrender to the United States Marshal for this district:
            Oat                                      Oa.m.    Op·m.      on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 ________________________________________________
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                              UNITED STATES MARSHAL

                                                                      By ____________________________________
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                       09CR1684-DMS
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AD 245D      (Rev. 3/10) Judgment in a Criminal Case for Revocations
             Sheet 3   Supervised Relellle
                                                                                                          Judgment-Page - L - of _ _4~_ _
DEFENDANT: GERARDO MARTINEZ-VELASCO (2)                                                           a
CASE NUMBER: 09CR1684-DMS
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS as to each ofCounts I and 2 concurrently..

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­
o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backing Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicab Ie.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the Illst five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries hy the probation offICer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the prohation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confrrm the
         defendant's compliance with such notification requirement.
                                                                                                                                 09CRl684-DMS
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       AO 245B     (Rev. 91(0) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                       Judgment-Page   --i.- of _ _4..:.-_ _
       DEFENDANT: GERARDO MARTINEZ-VELASCO (2)                                                     a
       CASE NUMBER: 09CR1684-DMS




                                               SPECIAL CONDITIONS OF SUPERVISION
o Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
  reasonable manner, based upon reasonable suspicion ofcontraband or evidence ofa violation ofa condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
181 If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally; supervision waived upon
    deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
o Not enter or reside in the Republic of Mexico without written permission ofthe Court or probation officer.
o Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatristJphysician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o Take  no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
o Provide complete disclosure of personal and business financial records to the probation officer as requested.
o probation
  Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
            officer.
o Seek and maintain full time employment andlor schooling or a combination of both.
o Resolve all outstanding warrants within       days.
o Complete hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o Comply   with the conditions of the Home Confinement Program for a period of
  except for activities or employment as approved by the court or probation officer.
                                                                                                          months and remain at your residence


o The
  Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
       defendant may be required contribute to the costs of services rendered in an amount to be determined by the probation officer, based
                                         to
    on the defendant's ability to pay.




                                                                                                                                   09CR1684-DMS
